                                                                                              155 Seaport Blvd.
                                                                                                                                
                                                                                              Boston, MA 02210
                                                                                              617.832.1000 main


        




                                                                                         0DWWKHZ&%DOWD\
                                                                                         
                                                                                         PEDOWD\#IROH\KRDJFRP



)HEUXDU\
    
+RQ/RUQD*6FKRILHOG
8QLWHG6WDWHV'LVWULFW&RXUW
6RXWKHUQ'LVWULFWRI1HZ<RUN
7KXUJRRG0DUVKDOO8QLWHG6WDWHV&RXUWKRXVH)ROH\6TXDUH
1HZ<RUN1<

5H Loomis Sayles Trust Company, LLC v. Citigroup Global Markets Inc.FY/*6

'HDU-XGJH6FKRILHOG
        3ODLQWLII/RRPLV6D\OHV7UXVW&RPSDQ\//& ³/67&´ KHUHE\VXEPLWVWKLVOHWWHUEULHI
UHJDUGLQJ &LWLJURXS¶VDVFRQYHUWHGPRWLRQ IRU VXPPDU\ MXGJPHQW7KLV&RXUWVKRXOGGHQ\ WKH
PRWLRQEHFDXVHPDWHULDOLVVXHVRIIDFWH[LVWRUGHIHULWVFRQVLGHUDWLRQSXUVXDQWWR5XOH G  see
/67&¶V5 G /WU 'NW ,QRUGHUWRSURWHFWLWVULJKWVDQGLQOLJKWRIWKH&RXUW¶VGLUHFWLYH
WKDWWKHSDUWLHVVXEPLWPDWHULDOVRQWKHDVFRQYHUWHGPRWLRQQRWZLWKVWDQGLQJWKH5XOH G LVVXH
 'NW /67&VXEPLWWHGHYLGHQFHSHUWLQHQWWRWKHDVFRQYHUWHGPRWLRQ /67&DOVRVXEPLWWHG
WKH'HFODUDWLRQRI./HRQHWWLOLVWLQJIDFWVVWLOOQHHGHGWRUHVROYH&LWLJURXS¶VSUHPDWXUHPRWLRQ 

        ,WLVFULWLFDOWRVWDUWZLWKWKHSDUWLHV¶DFWXDODJUHHPHQWZLWKUHVSHFWWRWKHVHFRQGZDYHRI
WUDGHVDVWKDWSODFHVHYHU\WKLQJLQWRFRQWH[W&LWLJURXSDJUHHVWKDWWKH&RXUWVKRXOGYLHZPDWWHUV
³LQIXOODQGKROLVWLFDOO\´DQG³LQFRQWH[W´DQG&LWLJURXSHYHQVXEPLWVLQIRUPDWLRQIURP0DUFK
IRU FRQWH[W 'NW  DW   'NW    7KH HYLGHQFH VKRZV WKH LQVWUXFWLRQV *DJQRQ
SURYLGHGWR&LWLJURXSDWSPRQ0DUFKIRUPHGWKHEDVLVRIWKHFRQWUDFWDQGVHWLWVWHUPV
WR³ZDYHRXWZKDW\RXWKLQNLVJRRGIRUDQDJJUHVVLYH02&SLHFH´³WUDGHWKHUHVWEHVWZD\´³FDQ
EHPRVWDJJUHVVLYHQHDUWKHFORVH´DQG³>G@RQRWKDYHWREHFRPSOHWH>G@´WKDWGD\*DJQRQ'HFO
([' 'NW DW±SP7KHapplicabilityRIWKRVHLQVWUXFWLRQVWRWKH$IIHFWHG2UGHUV
LV XQDPELJXRXV +RZHYHU GLVFHUQLQJ WKH meaning RI WKRVH WHUPV UHTXLUHV H[WULQVLF HYLGHQFH
LQFOXGLQJRQWKHWUDGHMDUJRQDQGLQGXVWU\FXVWRPDQGXVDJHZKLFKPD\EHFRQVLGHUHGHYHQDEVHQW
DPELJXLW\Rose Stone & Concrete, Inc. v. Cnty. of Broome$'G $SS'LYG
'HS¶W  ³>7@UDGHWHUPVPD\EHVKRZQE\SDUROHYLGHQFH´ /67&KDVSURYLGHGSUHOLPLQDU\
HYLGHQFHUHJDUGLQJWKHPHDQLQJRIWKRVHWHUPVWKURXJK/RRPLV¶VFRKHDGVRIWUDGLQJDQGLQGXVWU\
H[SHUWV*DJQRQ'HFO0DWXUL'HFO 'NW (VWHOOD'HFO 'NW 
5XWLJOLDQR'HFO 'NW (DFKZLWQHVVPDNHVFOHDUWKDWWKHPHDQLQJRIWKRVH
WHUPV ZLWKLQ WKH LQGXVWU\ DQG WKH UHVXOWLQJ DJUHHPHQW LV WKDW &LWLJURXS DJUHHG WR H[HUFLVH LWV
GLVFUHWLRQ WR H[HFXWH WKH WUDGHV LQ D PDQQHU WKDW GLG QRW PDWHULDOO\ LPSDFW WKH SULFHV RI WKH
VHFXULWLHVEHLQJWUDGHGId7KDWHYLGHQFHLVXQGLVSXWHG

        

 &LWLJURXS¶VSRVLWLRQLQJLVLQFRQVLVWHQW,WUHVLVWV/67&¶VUHTXHVWWRSXWWKHIXOOFRQWH[WLQWRWKHUHFRUGDQGIRFXVHV
RQWKHVQLSSHWIURPSPZKLOHVLPXOWDQHRXVO\FKDUJLQJWKDWLWLV/67&WKDWLV³SUHVHQWLQJDJURVVO\LQFRPSOHWH
DQGPLVOHDGLQJSLFWXUH´RIPDWWHUV 'NWDW DQGDVNLQJWKH&RXUWWRFRQVLGHUDGGLWLRQDOPDWHULDOVEXWRQO\WKRVH
WKDWLWSURIIHUV VXFKDVWKH0DUFKFRPPXQLFDWLRQV&LWLJURXSMXVWILOHG 

            ATTORNEYS AT LAW                                           BOSTON | NEW YORK | PARIS | WASHINGTON | FOLEYHOAG.COM

        
+RQ/RUQD*6FKRILHOG
3DJH
    
         7KHUHFRUGFRQILUPVWKDW&LWLJURXSRSHUDWHGXQGHUWKHWHUPVRIWKHDJUHHPHQWIRUPHGDW
 SP DOO DIWHUQRRQ &LWLJURXS UHSHDWHGO\ UHSRUWHG RXW DV WR ZKDW LW KDG EHHQ GRLQJ LQ LWV
GLVFUHWLRQDQGHQWHUHGRUGHUVZLWKRXWVHHNLQJIXUWKHUFOHDUDQFHIURP/RRPLV7KXVE\SP
&LWLJURXSEDVHGRQWKHLQVWUXFWLRQVKDGXQLODWHUDOO\VXEPLWWHGIRXURIWKHVHFRQGZDYHRUGHUV
HQWLUHO\DV02&RUGHUV*DJQRQ'HFO(['DWSP ³'2&63<3/649((9,KDYHGRZQ
DOO02&DOUHDG\´ $QGE\SPLWKDGGHFLGHGWKDW6/%ZDV³JRLQJDOO02&´Id. DW
&KLRPDVWURGLGQRWDVNSHUPLVVLRQWRVXEPLWWKRVHRUGHUVUDWKHUKHSURYLGHGDQXSGDWHDIWHUKH
KDG GRQH VR $V /RRPLV¶V H[SHUWV KDYH RSLQHG WKLV LV EHFDXVH &LWLJURXS ZDV WR H[HUFLVH LWV
GLVFUHWLRQ LQ GHFLGLQJ KRZ EHVW WR WUDGH WKH VHFXULWLHV (VWHOOD 'HFO   5XWLJOLDQR
'HFO7KHUHFRUGIXUWKHUUHIOHFWVWKDW&LWLJURXSZDVFRQGXFWLQJDQDO\VHVEDVHGRQ
WKH  SP LQVWUXFWLRQ e.g. *DJQRQ 'HFO ([ ' DW    SP ([ ) DW  
FRQVLVWHQW ZLWK WKH FRQFOXVLRQ WKDW &LWLJURXS KDG WKH REOLJDWLRQ WR DVVHVV OLTXLGLW\ DQG XVH LWV
MXGJPHQWWRH[HFXWH&LWLJURXSSRLQWVWRDQH[FKDQJHDWSPIRFXVLQJRQ*DJQRQ¶VVWDWHPHQW
³WKLQNLQJ>&/@¶VJRQQDEHILQH´'NWDW7KLVZDVQRWDVXSHUVHGLQJRUELQGLQJLQVWUXFWLRQ
DQG FDQQRW EH GLYRUFHG IURP WKH FRQWH[W RI WKH  SP LQVWUXFWLRQV *DJQRQ 'HFO 
*DJQRQPDGHWKLVVWDWHPHQWEDVHGRQKLVXQGHUVWDQGLQJWKDW&LWLJURXSKDGDOUHDG\GHWHUPLQHGLQ
LWVGLVFUHWLRQWKHSRUWLRQRIWKH&/RUGHUWRSODFH02&DQGPHDQWWKDW&LWLJURXSFRXOGDFFHVV
OLTXLGLW\ DKHDG RI WKH FORVLQJ DXFWLRQ IRU WKH UHPDLQLQJ VKDUHV FRQVLVWHQW ZLWK WKH RULJLQDO
LQVWUXFWLRQId. *DJQRQGLGQRWPHDQWKHFORVLQJDXFWLRQFRXOGDEVRUEWKHHQWLUH&/RUGHUId.$W
SPWKHRULJLQDODJUHHPHQWLVFOHDUO\VWLOOLQSODFHDV/RRPLVVHQWDVXSSOHPHQWDORUGHUWRWKH
VHFRQG ZDYH XQGHU WKH VDPH LQVWUXFWLRQV ³6DPH LQVWUXFWLRQ>V@ DOO´  ZKLFK &LWLJURXS
DFNQRZOHGJHG ³W\´  IXUWKHU FRQILUPLQJ WKDW DW OHDVW DV RI  SP WKH RULJLQDO LQVWUXFWLRQV
JRYHUQHGDQGUHPDLQHGLQIRUFH*DJQRQ'HFO(['DWSP&LWLJURXS¶VSPVWDWHPHQW
WKDW ³>W@KH UHVW LV 02&´ PXVW DOVR EH UHDG LQ FRQWH[W RI WKH LPPHGLDWHO\ SUHFHGLQJ &LWLJURXS
VWDWHPHQW³,KDYHN6+23LQKDQG´ZKLFKLVWUDGHWDONPHDQLQJWKDWNVKDUHVRI6+23
KDGQRW\HWEHHQWUDGHGLQUHJXODUWUDGLQJ RUSODFHGLQWRWKHFORVLQJDXFWLRQ *DJQRQ'HFO

         &LWLJURXSVHHNVWRXSHQGWKLVHQWLUHEDFNDQGIRUWKE\DUJXLQJ ZLWKQRIDFWXDOVXSSRUW 
WKDWWKHSPFKDWVRPHKRZFKDQJHG/RRPLV¶RULJLQDOLQVWUXFWLRQV(YHQLIWKLVZDVFRQVLVWHQW
ZLWKDQ\IDFWV&LWLJURXSDGYDQFHV DQGLWLVQRW WKDWLVDTXHVWLRQRIIDFWIRUWKHMXU\Deutsche
Asset Mgmt. v. Callaghan86'LVW/(;,6DW  6'1<$SU  ³>-@XVW
DV WKH TXHVWLRQ ZKHWKHU WKH SDUWLHV LQWHQGHG WR IRUP D FRQWUDFW LV D TXHVWLRQ RI IDFW VR LV WKH
TXHVWLRQZKHWKHUWKHSDUWLHV¶FRQGXFWH[SUHVVHVDQLQWHQWLRQWRPRGLI\DQH[LVWLQJDJUHHPHQW´ 
,QDQ\HYHQWWKHSPTXHVWLRQ³ORRNLQJWRFRPSOHWHDOOH[FHSWPD\EH6$0"´PXVWEHUHDGLQ
WKHFRQWH[WRIZKDWWKHSUHH[LVWLQJDJUHHPHQWZDVDQGZKDWWUDQVSLUHGWKDWDIWHUQRRQQDPHO\WKDW
&LWLJURXSKDGH[HFXWLRQGLVFUHWLRQDQGWKHSDUWLHVZHUHGLVFXVVLQJLWVSURJUHVV'XULQJWKH
SPFDOO&KLRPDVWURVDLGWKDWKHKDGVKDUHVRIIRXUQDPHVOHIWWRWUDGHEXWWKRXJKWKHZRXOGXVHD
FRQGLWLRQDO/2&RUGHURQO\IRU6$0DQG³PD\EH´&/LPSO\LQJWKDWKHH[SHFWHGWRFRPSOHWHWKH
UHVW*DJQRQ'HFO([) 'NW DW7KLVFRQWH[WLVFULWLFDO$V*DJQRQH[SODLQVKHZDV
³DFNQRZOHGJLQJ0U&KLRPDVWUR¶VXSGDWHUHJDUGLQJ6+23 µ7KDQNV¶  DQG DVNLQJ IRU D IXUWKHU
XSGDWHUHJDUGLQJWKHRWKHURUGHUV´Id.+HZDVQRWJLYLQJDQLQVWUXFWLRQWRSODFHDOORI6+23
DQG&/DV02&RUGHUVId,QGHHGWKHUHZHUHQXPHURXVZD\VDIWHUSPWKDW&LWLJURXS
FRXOG KDYH FRPSOHWHG DOO WKH RUGHUV ZLWKRXW HQWHULQJ WKHP 02& 5XWLJOLDQR 'HFO 
*DJQRQ'HFO1RZKHUHLQWKDWH[FKDQJHGRHV*DJQRQPHQWLRQ³02&´1RDPRXQW
RIDUJXPHQWFDQFRQYHUWWKLVTXHVWLRQLQWRDQLQVWUXFWLRQWKDWVXSHUVHGHVDOOWKDWFDPHEHIRUHLW
7KHUH LV QR HYLGHQFH RQO\ DUJXPHQW  WKDW &LWLJURXS XQGHUVWRRG WKLV TXHVWLRQ DV D ELQGLQJ
LQVWUXFWLRQOHWDORQHXQGLVSXWHGIDFW



    
Hon. Loma G. Schofield
Page 3

        At worst, the 3:48 pm chat is open to two interpretations: (1) it was a question asking about
Citigroup's progress; or (2) it was the "final and express directive" (Dkt. 43 at 5). As such, it is
ambiguous, and extrinsic evidence is needed (aside from context and translation of trnde jargon).
Memnon v. Clifford Chance, 667 F. Supp. 2d 334, 348 (S.D.N.Y. 2009) ("[W]hen the tenns of the
contract are susceptible to more than one reasonable meaning, a comi may consult parol evidence
to detennine the patties' intent."). Extrinsic evidence is also pennissible for the separate reason
that the agreement is far from integrated. Morwm Stanley High Yield Sec., Inc. v. Seven Circle
Gaming Corp., 269 F. Supp. 2d 206, 213 (S.D.N.Y. 2003). LSTC has adduced evidence suppo1iing
the conclusion that this was in fact a question and not a final and express directive. Gagnon Deel.
~~31-32; Estella Deel. ~~29-30 ; see also Maturi Deel. ~~12 , 37-39.

       Citigroup's own admissions after market close on March 18 are entitled to great weight.
Disney Enters. V. Finanz St. Honore, B. V. , 2016 U.S. Dist. LEXIS 169322, at *18 (E.D.N.Y. Dec.
5, 2016) ("Where a contract is ambiguous, the practical interpretation of a contract by the pa1iies
manifested by their conduct subsequent to its f01mation for any considerable length of time before
it becomes a subject of controversy, is entitled to great, if not controlling, weight in the
construction of the contract."); T.L.C. W., LLC v. Fashion Outlets of Niagara, LLC, 60 A.D.3d
1422, 1424 (4th Dep't 2009) (same). In an internal recorded call made just after the events in
question, Chiomastro and two Citigroup executives candidly admitted that 1 Citi ou not
Loomis decided to lace the Affected Orders as MOC S eaker 1




                   Id. The tenor of the conversation is revealing. (We suggest that the Cami listen
                 c we have submitted.)

        Citigroup's focus on the update, "I have all down now MOC x SAM" is also unavailing.
Chiomastro made this statement at 3:50 pm, after the cutoff for withdrawals from the auction
absent legitimate error. And Gagnon did not understand this statement to mean that Chiomastro
had placed the entirety of the orders except SAM as MOC orders into the closing auction. Gagnon
Deel. ~33. It is fanciful to suggest that Citigroup's statement after the closing auction cutoff
conve1ted Gagnon's question into a directive. Rather, this statement by Citigroup is further proof
that the exercise of discretion by Citigroup, and not the instructions of Loomis, dete1mined how
and when the trades were placed. Estella Deel. ~30.

        Finally, independent of the precise meaning of the March 18 Communications, Citigroup
acting as broker and agent (by its own admission) owed LSTC a fiducia1y duty to cany out its
work with diligence and competence, which includes the duty of best execution. US. v. Wolfson,
642 F.3d 293, 295 (2d Cir. 2011). In publicly available statements, Citigroup admits it owes the
duty of best execution "in any transaction," regardless of the level of discretion, which includes
"the requirement to take all sufficient steps with the goal of obtaining the best possible result for
Clients." Estella Deel., Ex.Bat 11; Ex.Cat 4. Citigroup cannot side-step that duty.

       Summary judgment should be denied on both claims. LSTC requests oral argument.
+RQ/RUQD*6FKRILHOG
3DJH
   
       
                                       5HVSHFWIXOO\VXEPLWWHG
                                       /s/ 0DWWKHZ&%DOWD\
   

   FF &RXQVHORI5HFRUG YLD(&) 




   
